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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
SARAH WALKER,                             )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                  Case No. 22-cv-3312 (APM)
                                          )
NEW VENTURE FUND, et al.,                 )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Pursuant to the parties’ Local Civil Rule 16.3 Report and the Status Conference held on

May 29, 2024, the court orders the following with regard to further proceedings in this matter:

       I.       Scheduling.

                A.     The parties shall exchange initial disclosures, as required under
                       Rule 26(a)(1), on or before June 12, 2024;

                B.     Plaintiff shall make any proponent expert disclosures, consistent with Rule
                       26(a)(2), on or before August 29, 2024;

                C.     Defendant shall make any proponent expert disclosures, consistent with
                       Rule 26(a)(2), on or before September 30, 2024;

                D.     The parties shall submit a Joint Status Report regarding the status of
                       discovery on or before October 7, 2024;

                E.     The parties shall make any rebuttal expert reports and disclosures,
                       consistent with Rule 26(a)(2), on or before October 15, 2024;

                F.     Discovery shall conclude on November 29, 2024;

                G.     A Post-Discovery Status Conference is set for December 6, 2024, at 2:00
                       p.m. via videoconference.

                       The parties may not extend by stipulation the deadlines for the Joint Status
                       Report and the end of discovery. Instead, the parties must seek an
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                      extension of time, preferably by filing a consent motion with the court.
                      A motion to extend any deadline shall indicate whether any previous
                      extensions were requested and granted.
                      The parties may modify all other interim deadlines by stipulation. If the
                      parties cannot agree to a schedule modification, the party seeking
                      additional time must file a motion and show good cause for the
                      modification.
                      Likewise, a request for additional time to conduct discovery must be made
                      on or before the discovery deadline. A request for an extension of time
                      made after the discovery deadline will be considered untimely.

   II.     Limits on Discovery.

           Absent leave of court, the parties shall be limited to five non-party, non-expert
           depositions per side. Any Rule 30(b)(6) deposition will not count against the five.
           Also, the parties shall not propound more than 25 interrogatories per party.

   III.    Discovery Disputes.

           In the event that a discovery dispute arises, the parties shall make a good faith effort
           to resolve or narrow the areas of disagreement. If the parties are unable to resolve the
           discovery dispute, then the parties shall jointly call Judge Mehta’s chambers at (202)
           354-3250, at which time the court will either rule on the issue or determine the manner
           in which it will be handled. The parties may not file a discovery motion without leave
           of court.

           Disputes regarding discovery must be raised on or before the discovery deadline.
           Disputes raised after the deadline will be considered untimely.

   IV.     Settlement.

           The parties are expected to continue to evaluate their respective cases for purposes of
           settlement. The court encourages the use of alternative dispute resolution—e.g.,
           mediation or neutral case evaluation. The use of these methods is available at any
           time, as is a settlement conference before a magistrate judge. If the parties are
           interested in pursuing these options, they may contact chambers at any time.




Dated: May 29, 2024                                         Amit P. Mehta
                                                     United States District Court Judge



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